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 1
      Joel E. Elkins (SBN 256020)
      jelkins@weisslawllp.com
 2    WEISSLAW LLP
 3    9107 Wilshire Blvd., Suite 450
      Beverly Hills, CA 90210
 4    Telephone: 310/208-2800
 5    Facsimile: 310/209-2348

 6 Attorneys for Plaintiff

 7

 8                       UNITED STATES DISTRICT COURT
 9
                        CENTRAL DISTRICT OF CALIFORNIA
10

11 STEPHEN BUSHANSKY, Individually             Case No. ____________________
      and On Behalf of All Others Similarly
12 Situated,                                   CLASS ACTION
13
                        Plaintiff,             COMPLAINT FOR VIOLATIONS
14                                             OF THE FEDERAL SECURITIES
15          v.                                 LAWS

16 WESCO AIRCRAFT HOLDINGS,                    JURY TRIAL DEMANDED
17 INC., RANDY J. SNYDER, DAYNE A.
      BAIRD, THOMAS M. BANCROFT III,
18 PAUL E. FULCHINO, JAY L.

19 HABERLAND, SCOTT E. KUECHLE,
      ADAM J. PALMER, ROBERT D.
20 PAULSON, JENNIFER M. POLLINO,

21 TODD RENEHAN, AND NORTON A.
      SCHWARTZ,
22

23                      Defendants.
24

25

26

27

28
                                  1
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 1          Plaintiff Stephen Bushansky (“Plaintiff”), by his undersigned attorneys, for

 2 his complaint against defendants, alleges upon personal knowledge with respect to
 3
      himself, and upon information and belief based upon, inter alia, the investigation of
 4
 5 counsel as to all other allegations herein, as follows:
 6                              NATURE OF THE ACTION
 7
            1.     This is a class action brought by Plaintiff on behalf of himself and the
 8
 9 public stockholders of Wesco Aircraft Holdings, Inc. (“Wesco” or the “Company”)
10 against Wesco and the members of its Board of Directors (the “Board” or the
11
   “Individual Defendants”) for their violations of Sections 14(a) and 20(a) of the
12
13 Securities Exchange Act of 1934 (the “Exchange Act”), 15 U.S.C. §§ 78n(a), 78t(a),
14 and U.S. Securities and Exchange Commission (“SEC”) Rule 14a-9, 17 C.F.R.
15
   § 240.14a-9, and to enjoin the vote on a proposed transaction, pursuant to which
16
17 Wesco will be acquired by an affiliate of Platinum Equity Advisors, LLC (“Platinum
18 Equity”) through its subsidiaries, Wolverine Intermediate Holding II Corporation
19
   (“Parent”) and Parent’s wholly owned subsidiary, Wolverine Merger Corporation
20
21 (“Merger Sub”) (the “Proposed Transaction”).
22          2.     On August 9, 2019, Wesco issued a press release announcing it had
23
      entered into an Agreement and Plan of Merger dated August 8, 2019 (the “Merger
24
25 Agreement”) to be acquired by an affiliate of Platinum Equity. Pursuant to the terms
26 of the Merger Agreement, Wesco stockholders will be entitled to receive $11.05 per
27
28
                                   2
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 1 share in cash for each Wesco share they own (the “Merger Consideration”). The
 2 Proposed Transaction is valued at approximately $1.9 billion.
 3
            3.    On September 13, 2019, defendants filed a Schedule 14A Definitive
 4
 5 Proxy Statement (the “Proxy Statement”) with the SEC. The Proxy Statement,
 6 which recommends that Wesco stockholders vote in favor of the Proposed
 7
      Transaction, omits or misrepresents material information concerning, among other
 8
 9 things: (i) the Company’s financial projections; (ii) the background process leading
10 up to the Proposed Transaction; (iii) the valuation analyses performed by Wesco’s
11
   financial advisors, Morgan Stanley & Co. LLC (“Morgan Stanley”) and J.P. Morgan
12
13 Securities LLC (“J.P. Morgan,” and together with Morgan Stanley, the “Financial
14 Advisors”) regarding the Proposed Transaction; and (iv) potential conflicts of
15
   interest faced by the Company’s Financial Advisors. Defendants authorized the
16
17 issuance of the false and misleading Proxy Statement in violation of Sections 14(a)
18 and 20(a) of the Exchange Act.
19
          4.    In short, unless remedied, Wesco’s public stockholders will be
20
21 irreparably harmed because the Proxy Statement’s material misrepresentations and
22 omissions prevent them from making a sufficiently informed voting or appraisal
23
   decision on the Proposed Transaction. Plaintiff seeks to enjoin the stockholder vote
24
25 on the Proposed Transaction unless and until such Exchange Act violations are
26 cured.
27
28
                                   3
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 1                             JURISDICTION AND VENUE

 2          5.     This Court has jurisdiction over the claims asserted herein for violations
 3
      of Sections 14(a) and 20(a) of the Exchange Act and SEC Rule 14a-9 promulgated
 4
 5 thereunder pursuant to Section 27 of the Exchange Act, 15 U.S.C. § 78aa, and 28
 6 U.S.C. § 1331 (federal question jurisdiction).
 7
            6.     This Court has jurisdiction over the defendants because each defendant
 8
 9 is either a corporation that conducts business in and maintains operations within this
10 District, or is an individual with sufficient minimum contacts with this District so as
11
   to make the exercise of jurisdiction by this Court permissible under traditional
12
13 notions of fair play and substantial justice.
14          7.     Venue is proper in this District pursuant to 28 U.S.C. § 1391 because
15
      defendants are found or are inhabitants or transact business in this District. Wesco’s
16
17 common stock trades on the New York Stock Exchange, which is headquartered in
18 this District, rendering venue in this District appropriate.
19
                                          PARTIES
20
21        8.      Plaintiff is, and has been at all times relevant hereto, a continuous
22 stockholder of Wesco.
23
         9.    Defendant Wesco is a Delaware corporation and maintains its principal
24
25 executive offices at 24911 Avenue Stanford, Valencia, California 91355. Wesco’s
26 common stock is traded on the New York Stock Exchange under the ticker symbol
27
28
                                   4
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 1 “WAIR.”
 2          10.   Defendant Randy J. Snyder (“Snyder”) has been Chairman of the Board
 3
      since 2006 and previously served as President and Chief Executive Officer (“CEO”)
 4
 5 of the Company from 1977 to December 2014.
 6          11.   Defendant Dayne A. Baird (“Baird”) has been a director of the
 7
      Company since 2010.
 8
 9          12.   Defendant Thomas M. Bancroft III (“Bancroft”) has been a director of

10 the Company since February 2015.
11
         13. Defendant Paul E. Fulchino (“Fulchino”) has been a director of the
12
13 Company since 2008.
14          14.   Defendant Jay L. Haberland (“Haberland”) has been a director of the
15
      Company since 2011.
16
17          15.   Defendant Scott E. Kuechle (“Kuechle”) has been a director of the
18 Company since 2012.
19
       16. Defendant Adam J. Palmer (“Palmer”) has been a director of the
20
21 Company since 2006.
22          17.   Defendant Robert D. Paulson (“Paulson”) has been a director of the
23
      Company since 2006.
24
25          18.   Defendant Jennifer M. Pollino (“Pollino”) has been a director of the
26 Company since December 2014.
27
28
                                   5
         COMPLAINT FOR VIOLATION OF THE FEDERAL SECURITIES LAWS
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 1         19.   Defendant Todd Renehan (“Renehan”) has been CEO and a director of

 2 the Company since 2017. Defendant Renehan previously served as Executive Vice
 3
      President and Chief Commercial Officer of the Company from 2014 to 2017.
 4
 5         20.   Defendant Norton A. Schwartz (“Schwartz”) has been a director of the

 6 Company since 2013.
 7
           21.   Defendants identified in paragraphs 10-20 are collectively referred to
 8
 9 herein as the “Board” or the “Individual Defendants.”
10                          OTHER RELEVANT ENTITIES
11
           22.   Platinum Equity is a global mergers, acquisitions and operations firm
12
13 that specializes in mergers, acquisitions, and operations of companies by providing
14 products, services and solutions. Platinum Equity is headquartered in Los Angeles,
15
   California, with offices in Boston, Greenwich, New York, London, and Singapore.
16
17       23. Parent is a Delaware corporation and indirect subsidiary of funds
18 managed and advised by Platinum Equity.
19
         24. Merger Sub is a Delaware corporation and a wholly-owned subsidiary
20
21 of Parent.
22                         CLASS ACTION ALLEGATIONS
23
           25.   Plaintiff brings this action as a class action pursuant to Rule 23 of the
24
25 Federal Rules of Civil Procedure on behalf of all persons and entities that own
26 Wesco common stock (the “Class”). Excluded from the Class are defendants and
27
28
                                   6
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 1 their affiliates, immediate families, legal representatives, heirs, successors or assigns
 2 and any entity in which defendants have or had a controlling interest.
 3
            26.   Plaintiff’s claims are properly maintainable as a class action under Rule
 4
 5 23 of the Federal Rules of Civil Procedure.
 6          27.   The Class is so numerous that joinder of all members is impracticable.
 7
      While the exact number of Class members is unknown to Plaintiff at this time and
 8
 9 can only be ascertained through discovery, Plaintiff believes that there are thousands
10 of members in the Class. As of September 9, 2019, there were 99,749,063 shares of
11
   Company common stock outstanding. All members of the Class may be identified
12
13 from records maintained by Wesco or its transfer agent and may be notified of the
14 pendency of this action by mail, using forms of notice similar to that customarily
15
   used in securities class actions.
16
17       28. Questions of law and fact are common to the Class and predominate
18 over questions affecting any individual Class member, including, inter alia:
19
               (a)    Whether the Individual Defendants have violated Section 14(a)
20
21 of the Exchange Act;
22                (b)   Whether the Individual Defendants have violated Section 20(a)
23
      of the Exchange Act; and
24
25                (c)   Whether Plaintiff and the other members of the Class would
26 suffer irreparable injury were the Proposed Transaction consummated.
27
28
                                   7
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 1          29.   Plaintiff will fairly and adequately protect the interests of the Class, and

 2 has no interests contrary to or in conflict with those of the Class that Plaintiff seeks
 3
      to represent. Plaintiff has retained competent counsel experienced in litigation of
 4
 5 this nature.
 6          30.   A class action is superior to all other available methods for the fair and
 7
      efficient adjudication of this controversy. Plaintiff knows of no difficulty to be
 8
 9 encountered in the management of this action that would preclude its maintenance
10 as a class action.
11
          31. Defendants have acted, or refused to act, on grounds generally
12
13 applicable to the Class as a whole, and are causing injury to the entire Class.
14 Therefore, final injunctive relief on behalf of the Class is appropriate.
15
                           SUBSTANTIVE ALLEGATIONS
16
17 Company Background and the Proposed Transaction
18          32.   Wesco was founded in 1953 and now serves over 7,000 customers,
19
      primarily in the commercial, military and general aviation sectors. Wesco is a
20
21 distributor and provider of supply chain management services to the global
22 aerospace industry, including the leading original equipment manufacturers and their
23
   subcontractors, through which the Company supports nearly all major Western
24
25 aircraft programs.
26          33.   The Company’s services include traditional distribution, management
27
28
                                   8
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 1 of supplier relationships, quality assurance, kitting, just-in-time delivery, chemical
 2 management services, third-party logistics or fourth-party logistics programs, and
 3
      point-of-use inventory management. Wesco supplies more than 563,000 active
 4
 5 stock-keeping units, including C-class hardware, chemicals, electronic components,
 6 bearings, tools and machined parts.
 7
           34.   On January 31, 2019, Wesco announced its first quarter 2019 financial
 8
 9 results. The Company reported net sales of $395.3 million, 8.9% higher than net
10 sales in the first quarter of 2018, gross profit of $98.3 million, compared to $94.4
11
   million in the first quarter of 2018, and adjusted net income of $16.6 million,
12
13 compared to $14.5 million in the first quarter of 2018. Defendant Renehan
14 commented on the quarter’s results, stating:
15
       Fiscal 2019 first quarter results reflect solid top-line growth in all
16
17     products and services and ongoing execution of our Wesco 2020
18         initiatives. Our Americas business, which represented 81 percent of
19
           total net sales, performed very well in the first quarter, with strong sales
20
21         growth and improved operating margin. This was partially offset by
22         one-time costs of $8 million supporting Wesco 2020 execution and
23
           weaker results in our EMEA business. Based upon our strong execution
24
25         in the Americas, I’m confident in our ability to address the challenges
26         in EMEA and improve its profit generation by the end of the year.
27
28
                                   9
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 1         35.   On May 2, 2019, Wesco announced its second quarter 2019 financial

 2 results. For the quarter, net sales were $426.5 million, a 9.4% increase compared to
 3
     the second quarter of 2018. Gross profit was $108.7 million, compared to $105.7
 4
 5 million in the second quarter of 2018. Adjusted net income was $23.2 million,
 6 compared to $22.2 million in the second quarter of 2018. Defendant Renehan
 7
     commented on the financial results, stating:
 8
 9         Financial results in the fiscal 2019 second quarter reflect continued

10         improvement in most areas of the business. Sales were robust across all
11
           major product categories, as we took advantage of a growing market.
12
13         Consistent with the previous quarter, we had execution challenges in

14         EMEA; we launched a series of key initiatives in the region and remain
15
           confident in our ability to improve EMEA’s performance. Net income
16
17         declined in the second quarter, primarily due to temporary costs related
18         to Wesco 2020 and EMEA challenges; adjusted EBITDA increased
19
           year-over-year, reflecting strong sales gains in the Americas. In
20
21         addition, our continued focus on inventory management led to a
22         significant increase in cash generation in the second quarter.
23
           36.   On August 9, 2019, Wesco announced its financial results for the third
24
25 quarter of 2019, including net sales of $442.4 million, a 7.8% increase compared to
26 the third quarter of 2018, gross profit of $105.9 million, compared to $104.2 million
27
28
                                  10
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 1 in the third quarter of 2018, and adjusted net income of $22.7 million, compared to
 2 $20.1 million in the third quarter of 2018. Defendant Renehan commented on the
 3
     results, stating:
 4
 5          Robust sales growth continued in the fiscal 2019 third quarter, primarily

 6          driven by higher sales under long-term contracts for both chemical and
 7
            hardware products. This growth reflects continued strong performance
 8
 9          in the Americas, which is our largest segment, and was achieved despite

10          a decline in our EMEA region. Cash from operating activities increased
11
            significantly in the third quarter, primarily due to further improvements
12
13          in inventory management and our continued focus on working capital.

14          37.    Also on August 9, 2019, Wesco issued a press release announcing the
15
     Proposed Transaction that stated, in relevant part:
16
17          VALENCIA Calif., Aug. 09, 2019 (GLOBE NEWSWIRE) -- Wesco
18          Holdings Inc. (NYSE: WAIR), one of the world’s leading distributors
19
            and providers of comprehensive supply chain management services to
20
21          the global aerospace industry, today announced that it has entered into
22          a definitive merger agreement to be acquired by an affiliate of Platinum
23
            Equity in a transaction valued at approximately $1.9 billion.
24
25
26          Upon closing, Wesco will be combined with Platinum Equity portfolio
27
28
                                  11
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 1      company Pattonair, a provider of supply chain management services for

 2      the aerospace and defense industries based in the United Kingdom.
 3
 4
 5      Under the agreement, which has been unanimously approved by

 6      Wesco’s Board of Directors, Wesco shareholders would receive $11.05
 7
        per share in cash. The cash purchase price represents a premium of
 8
 9      approximately 27.5 percent to the 90-day volume weighted average

10      share price for the period ended May 24, 2019, the last trading day prior
11
        to media speculation regarding a potential transaction involving Wesco.
12
13
14      Wesco’s three largest shareholders, affiliates of The Carlyle Group and
15
        Makaira Partners, as well as the Snyder Family Trusts, support the
16
17      transaction and have entered into voting and support agreements to vote
18      their shares in favor of the transaction.
19
20
21      “We are excited about the opportunities a combination with Pattonair
22      will provide Wesco. This is the right transaction for our shareholders,
23
        customers and employees,” said Todd Renehan, Chief Executive
24
25      Officer of Wesco. “This transaction is a strong validation of our
26      customer value proposition, and it will allow us to find new and
27
28
                                12
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 1      innovative ways to bring more value to customers, enhance

 2      relationships with suppliers and create additional opportunities for
 3
        employees.”
 4
 5
 6      Wayne Hollinshead, Pattonair CEO, said, “This is great news for our
 7
        company and our customers and will create new avenues for growth
 8
 9      and expansion. Wesco is an outstanding business with an impressive

10      track record for innovation and customer service. We are excited about
11
        the prospects of working together.”
12
13
14      Louis Samson, Platinum Equity Partner, said, “Wesco’s broad
15
        customer base and industry-leading capabilities have positioned it well
16
17      to benefit from long-term trends in the aerospace and defense industry.
18      Bringing Wesco and Pattonair together will create a truly global
19
        enterprise, benefiting the combined customer base through increased
20
21      scale and access to new technologies.”
22
23
        Transaction Details
24
25
26      The transaction will be financed through a combination of committed
27
28
                                13
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 1         equity financing provided by affiliates of Platinum Equity Capital

 2         Partners IV, L.P., as well as debt financing that has been committed to
 3
           by Bank of America Merrill Lynch.
 4
 5
 6         The transaction is expected to be completed by the end of calendar 2019
 7
           and is subject to Wesco shareholder approval, regulatory clearances and
 8
 9         other customary closing conditions.

10
11
           Upon the completion of the transaction, Wesco will become a privately
12
13         held company, and shares of its common stock no longer will be listed

14         on any public market.
15
     Insiders’ Interests in the Proposed Transaction
16
17         38.   Wesco insiders are the primary beneficiaries of the Proposed
18 Transaction, not the Company’s public stockholders. The Board and the Company’s
19
   executive officers are conflicted because they will have secured unique benefits for
20
21 themselves from the Proposed Transaction not available to Plaintiff and Wesco’s
22 public stockholders.
23
         39. The Company’s insiders stand to reap substantial financial benefits for
24
25 securing the deal with Platinum Equity. For example, defendant Renehan and the
26 Company’s other executive officers are each party to a transaction bonus letter that
27
28
                                  14
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 1 provides for the payment of a transaction bonus in cash equal to 150% of such
 2 executive officer’s base salary. The following table sets forth the transaction
 3
     bonuses the Company’s executive officers stand to receive in connection with the
 4
 5 sale of Wesco:
 6
 7
 8
 9
           40.   Additionally, pursuant to the terms of the Merger Agreement, each
10
11 Company stock option, restricted stock unit, restricted share and performance share
12 unit held by the Company’s directors and executive officers will automatically vest
13
   and convert into the right to receive cash payments. The following table sets forth
14
15 the payments Company insiders stand to receive in connection with the vesting of
16 their equity awards:
17
18
19
20
21
22
23
24
25
           41.   Moreover, if they are terminated in connection with the Proposed
26
27 Transaction, Wesco’s named executive officers stand to receive substantial cash
28
                                  15
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 1 severance payments in the form of golden parachute compensation, as set forth in
 2 the following table:
 3
 4
 5
 6
 7
 8 The Proxy Statement Contains Numerous Material Misstatements or
   Omissions
 9
10      42. Defendants filed a materially incomplete and misleading Proxy

11 Statement with the SEC and disseminated it to Wesco’s stockholders. The Proxy
12
     Statement misrepresents or omits material information that is necessary for the
13
14 Company’s stockholders to make an informed voting or appraisal decision in
15 connection with the Proposed Transaction.
16
        43. Specifically, as set forth below, the Proxy Statement fails to provide
17
18 Company stockholders with material information or provides them with materially
19 misleading information concerning: (i) the Company’s financial projections; (ii) the
20
   background of the Proposed Transaction; (iii) the data and inputs underlying the
21
22 financial valuation analyses that support the fairness opinions provided by the
23 Company’s Financial Advisors; and (iv) potential conflicts of interest of the
24
   Company’s Financial Advisors.
25
26 Material Omissions Concerning Wesco’s Financial Projections
27
28
                                  16
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 1         44.   The Proxy Statement is materially deficient because it fails to disclose

 2 material information relating to the Company’s intrinsic value and prospects going
 3
     forward.
 4
 5         45.   In April 2019, the Board reviewed and finalized with the Company’s

 6 Strategic Alternatives Committee Company management’s financial projections,
 7
     which were then provided to Parent and other potential bidders (the “Initial
 8
 9 Management Projections”). Beginning on July 16, 2019, following the receipt of
10 first round bids in the sale process and mere days before the second round bid
11
   deadline, Wesco’s management created a downwardly revised set of projections (the
12
13 “Updated Management Projections”). Although the Proxy Statement discloses
14 certain projection line items for the Initial Management Projections, the Proxy
15
   Statement fails to disclose the unlevered free cash flows or the underlying line items.
16
17 In addition, the Proxy Statement fails to disclose the key assumptions and
18 sensitivities to the Initial Management Projections reviewed by Company
19
   management at the request of the Strategic Alternatives Committee beginning on
20
21 July 26, 2019, and the key assumptions and risks underlying the downwardly revised
22 Updated Management Projections, as presented to the Board by Company
23
   management on August 1, 2019. Without these omitted projections and the related
24
25 assumptions, Wesco stockholders cannot assess the eleventh hour revision to the
26 Company’s projections and whether the revision was proper or was engineered to
27
28
                                  17
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 1 depress the future financial outlook of the Company to make the Merger
 2 Consideration appear more favorable.
 3
          46.    The omission of this information renders the statements in the “Certain
 4
 5 Financial Projections” section of the Proxy Statement false and/or materially
 6 misleading in contravention of the Exchange Act.
 7
     Material Omissions Concerning the Background of the Proposed Transaction
 8
 9        47.    The Proxy Statement is materially deficient because it fails to disclose

10 material information relating to the background of the Proposed Transaction.
11
         48. According to the Proxy Statement, in connection with the sale process
12
13 Wesco entered into non-disclosure agreements with fourteen (14) potential merger
14 partners. Yet, the Proxy Statement fails to disclose whether the non-disclosure
15
   agreements Wesco entered into with the fourteen (14) potential merger partners are
16
17 still in effect and/or contain “don’t ask, don’t waive” (“DADW”) standstill
18 provisions that are presently precluding these parties from making a topping bid for
19
   the Company
20
21       49. The disclosure of the terms of any standstill provisions in the
22 confidentiality agreements Wesco entered into with potential merger partners is
23
   crucial to Wesco stockholders being informed of whether their fiduciaries have put
24
25 in place restrictive devices to foreclose a topping bid for the Company.
26        50.    The omission of this information renders the statements in the
27
28
                                  18
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 1 “Background of the Merger” section of the Proxy Statement false and/or materially
 2 misleading in contravention of the Exchange Act.
 3
     Material Omissions Concerning the Financial Advisors’ Financial Analyses
 4
 5         51.   The Proxy Statement describes the Financial Advisors’ fairness

 6 opinions and the various valuation analyses performed in support of their opinions.
 7
     However, the descriptions of the Financial Advisors’ fairness opinions and analyses
 8
 9 fail to include key inputs and assumptions underlying these analyses. Without this
10 information, as described below, Wesco’s public stockholders are unable to fully
11
   understand these analyses and, thus, are unable to determine what weight, if any, to
12
13 place on the Financial Advisors’ fairness opinions in determining whether to vote in
14 favor of the Proposed Transaction or seek appraisal.
15
         52. With respect to Morgan Stanley’s Discounted Cash Flow Analysis
16
17 (“DCF”), the Proxy Statement fails to disclose: (i) the net present value of the tax
18 benefit from the amortization of certain intangible assets for the life of such assets
19
   from fiscal fourth quarter of 2019 through 2062; (ii) the financial metric Morgan
20
21 Stanley applied perpetuity growth rates to in order to derive the terminal value; (iii)
22 the implied terminal multiples resulting from the analysis; and (iv) quantification of
23
   the inputs and assumptions underlying the discount rate range of 6.9% to 8.4%.
24
25         53.   With respect to J.P. Morgan’s DCF, the Proxy Statement fails to
26 disclose: (i) the net present value of the tax benefit from the amortization of certain
27
28
                                  19
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 1 intangible assets for the life of such assets from fiscal fourth quarter of 2019 through
 2 2062; (ii) the implied terminal value multiples resulting from the analysis; and (iii)
 3
     quantification of the inputs and assumptions underlying the discount rate range of
 4
 5 8.25% to 9.25%.
 6         54.   With respect to J.P. Morgan’s Value Creation Analysis, the Proxy
 7
     Statement fails to disclose the estimated present value of the Synergies (net of
 8
 9 estimated transaction expenses) as reflected in synergy estimates Wesco’s
10 management provided to J.P. Morgan for use in connection with its analysis.
11
          55. When a banker’s endorsement of the fairness of a transaction is touted
12
13 to stockholders, the valuation methods used to arrive at that opinion as well as the
14 key inputs and range of ultimate values generated by those analyses must also be
15
   fairly disclosed.
16
17        56. The omission of this information renders the statements in the “Fairness
18 Opinion of Morgan Stanley & Co. LLC” and “Fairness Opinion of J.P. Morgan
19
   Securities LLC” sections of the Proxy Statement false and/or materially misleading
20
21 in contravention of the Exchange Act.
22 Material Omissions Concerning the Financial Advisors’ Potential Conflicts of
23 Interest
24         57.   The Proxy Statement also fails to disclose the potential conflicts of
25
     interest faced by the Company’s Financial Advisors.
26
27         58.   For example, the Proxy Statement sets forth:
28
                                  20
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 1        In the two years prior to the date of its opinion, Morgan Stanley or its

 2        affiliates have provided the Company with financing services and have
 3
          received less than approximately $1 million in fees in connection with
 4
 5        such services during such time. In the two years prior to the date of its

 6        opinion, Morgan Stanley or its affiliates have provided Platinum and its
 7
          affiliates with financial advisory and financing services and have
 8
 9        received aggregate fees of between $75 million to $100 million in

10        connection with such services during such time. Morgan Stanley may
11
          seek to provide financial advisory or financing services to Parent,
12
13        Platinum, Carlyle, the Company and their respective affiliates in the

14        future and would expect to receive fees for the rendering of these
15
          services.
16
17 Proxy Statement at 64. The Proxy Statement fails, however, to disclose any services
18 performed by Morgan Stanley for the Company’s largest stockholder, The Carlyle
19
   Group, L.P. (“Carlyle”), which owns approximately 23.4% of Wesco’s common
20
21 stock, in the past two years and the amount of fees received for performing services
22 for Carlyle. Additionally, the Proxy Statement fails to disclose the nature of the
23
   work and services performed by Morgan Stanley for Platinum and its affiliates in
24
25 the past two years.
26        59.    Additionally, the Proxy Statement sets forth:
27
28
                                 21
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 1      During the two years preceding the date of its opinion, J.P. Morgan and

 2      its affiliates have not had any material commercial or investment
 3
        banking relationships with the Company or Parent. During the two
 4
 5      years preceding the date of its opinion, J.P. Morgan and its affiliates

 6      have had commercial or investment banking relationships with The
 7
        Carlyle Group, L.P. ("Carlyle"), for which J.P. Morgan and such
 8
 9      affiliates have received customary compensation. Falcon Aerospace

10      Holdings, LLC, an affiliate of Carlyle, holds approximately 23% of the
11
        outstanding shares of Wesco Aircraft common stock. The services
12
13      J.P. Morgan has provided to Carlyle during such period have included

14      acting as joint lead bookrunning manager on an offering of Carlyle
15
        equity securities in September 2017, as joint lead bookrunning manager
16
17      on an offering of debt securities of a Carlyle subsidiary in September
18      2018, as joint lead arranger and bookrunner on a credit facility of a
19
        Carlyle subsidiary in February 2019 and as sole arranger and
20
21      bookrunner on a credit facility of a Carlyle subsidiary in June 2019. In
22      addition, during the two years preceding the date of its opinion,
23
        J.P. Morgan and its affiliates have had commercial or investment
24
25      banking relationships with Carlyle portfolio companies for which
26      J.P. Morgan and such affiliates have received customary compensation.
27
28
                                22
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 1      Such services during such period have included providing debt

 2      syndication, equity underwriting, debt underwriting and financial
 3
        advisory services to Carlyle portfolio companies. During the two years
 4
 5      preceding the date of its opinion, J.P. Morgan and its affiliates have had

 6      commercial or investment banking relationships with portfolio
 7
        companies of Platinum, for which J.P. Morgan and such affiliates have
 8
 9      received customary compensation. Parent and Merger Sub are indirect

10      subsidiaries of funds managed and advised by Platinum. The services
11
        J.P. Morgan has provided to Platinum during such period have included
12
13      providing debt syndication, debt underwriting and financial advisory

14      services to Platinum portfolio companies. J.P. Morgan's commercial
15
        banking affiliate is an agent bank and a lender under outstanding credit
16
17      facilities of Carlyle subsidiaries, Carlyle portfolio companies and
18      Platinum portfolio companies for which it receives customary
19
        compensation or other financial benefits. In addition, J.P. Morgan and
20
21      its affiliates hold, on a proprietary basis, less than 1% of the outstanding
22      common stock of the Company and approximately 2.85% of the
23
        outstanding common units of Carlyle. During the two year period
24
25      preceding the date of J.P. Morgan's opinion, J.P. Morgan received
26      aggregate fees from the Company of approximately $50 thousand, no
27
28
                                23
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 1         fees from Parent and aggregate fees from Platinum of approximately

 2         $29 million. In the ordinary course of their businesses, J.P. Morgan and
 3
           its affiliates may actively trade the debt and equity securities or
 4
 5         financial instruments (including derivatives, bank loans or other

 6         obligations) of the Company, Carlyle and Platinum for their own
 7
           account or for the accounts of customers and, accordingly, J.P. Morgan
 8
 9         may at any time hold long or short positions in such securities or other

10         financial instruments.
11
     Id. at 71-72. The Proxy Statement fails, however, to disclose the fees J.P. Morgan
12
13 received for the services it performed for Carlyle in the past two years.
14         60.   Full disclosure of investment banker compensation and all potential
15
     conflicts is required due to the central role played by investment banks in the
16
17 evaluation, exploration, selection, and implementation of strategic alternatives.
18         61.   The omission of this information renders the statements in the “Fairness
19
     Opinion of Morgan Stanley & Co. LLC” and “Fairness Opinion of J.P. Morgan
20
21 Securities LLC” sections of the Proxy Statement false and/or materially misleading
22 in contravention of the Exchange Act
23
         62. The Individual Defendants were aware of their duty to disclose this
24
25 information and acted negligently (if not deliberately) in failing to include this
26 information in the Proxy Statement. Absent disclosure of the foregoing material
27
28
                                  24
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 1 information prior to the stockholder vote on the Proposed Transaction, Plaintiff and
 2 the other stockholders of Wesco will be unable to make a fully-informed decision
 3
     whether to vote in favor of the Proposed Transaction and are thus threatened with
 4
 5 irreparable harm warranting the injunctive relief sought herein.
 6                                CLAIMS FOR RELIEF
 7
                                           Count I
 8
 9     Class Claims Against All Defendants for Violations of Section 14(a) of the
             Exchange Act and SEC Rule 14a-9 Promulgated Thereunder
10
11         63.    Plaintiff repeats and realleges the preceding allegations as if fully set

12 forth herein.
13
          64. During the relevant period, defendants disseminated the false and
14
15 misleading Proxy Statement specified above, which failed to disclose material facts
16 necessary to make the statements made, in light of the circumstances under which
17
   they were made, not misleading in violation of Section 14(a) of the Exchange Act
18
19 and SEC Rule 14a-9 promulgated thereunder.
20         65.    By virtue of their positions within the Company, the defendants were
21
     aware of this information and of their duty to disclose this information in the Proxy
22
23 Statement. The Proxy Statement was prepared, reviewed, and/or disseminated by
24 the defendants. It misrepresented and/or omitted material facts, including material
25
   information about the Company’s financial projections, the background of the
26
27 Proposed Transaction, the data and inputs underlying the financial valuation
28
                                  25
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 1 analyses that support the fairness opinions provided by the Company’s Financial
 2 Advisors, and potential conflicts of interest faced by the Company’s Financial
 3
     Advisors. The defendants were at least negligent in filing the Proxy Statement with
 4
 5 these materially false and misleading statements.
 6         66.     The omissions and false and misleading statements in the Proxy
 7
     Statement are material in that a reasonable stockholder will consider them important
 8
 9 in making a voting decision on the Proposed Transaction.
10         67.     By reason of the foregoing, defendants violated Section 14(a) of the
11
     Exchange Act and SEC Rule 14a-9 promulgated thereunder.
12
13         68.     Because of the false and misleading statements in the Proxy Statement,

14 Plaintiff and the Class are threatened with irreparable harm, rendering money
15
   damages inadequate. Therefore, injunctive relief is appropriate to ensure
16
17 defendants’ misconduct is corrected.
18                                        COUNT II
19
                    Class Claims Against the Individual Defendants for
20                    Violations of Section 20(a) of the Exchange Act
21
           69.     Plaintiff repeats and realleges the preceding allegations as if fully set
22
23 forth herein.
24         70.     The Individual Defendants acted as controlling persons of Wesco
25
     within the meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue
26
27 of their positions as officers and/or directors of Wesco and participation in and/or
28
                                  26
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 1 awareness of the Company’s operations and/or intimate knowledge of the false
 2 statements contained in the Proxy Statement, they had the power to influence and
 3
     control and did influence and control, directly or indirectly, the decision-making of
 4
 5 the Company, including the content and dissemination of the various statements that
 6 Plaintiff contends are false and misleading.
 7
           71.    Each of the Individual Defendants was provided with or had unlimited
 8
 9 access to copies of the Proxy Statement alleged by Plaintiff to be misleading prior
10 to and/or shortly after these statements were issued and had the ability to prevent the
11
   issuance of the statements or cause them to be corrected.
12
13       72. In particular, each of the Individual Defendants had direct and

14 supervisory involvement in the day-to-day operations of the Company, and,
15
   therefore, is presumed to have had the power to control and influence the particular
16
17 transactions giving rise to the violations as alleged herein, and exercised the same.
18 The Proxy Statement at issue contains the unanimous recommendation of the
19
   Individual Defendants to approve the Proposed Transaction. They were thus directly
20
21 involved in the making of the Proxy Statement.
22         73.    In addition, as the Proxy Statement sets forth at length, and as described
23
     herein, the Individual Defendants were each involved in negotiating, reviewing, and
24
25 approving the Proposed Transaction. The Proxy Statement purports to describe the
26 various issues and information that they reviewed and considered—descriptions the
27
28
                                  27
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 1 Company directors had input into.
 2         74.   By virtue of the foregoing, the Individual Defendants have violated
 3
     Section 20(a) of the Exchange Act.
 4
 5         75.   As set forth above, the Individual Defendants had the ability to exercise

 6 control over and did control a person or persons who have each violated Section
 7
     14(a) of the Exchange Act and SEC Rule 14a-9 promulgated thereunder, by their
 8
 9 acts and omissions as alleged herein. By virtue of their positions as controlling
10 persons, these defendants are liable pursuant to Section 20(a) of the Exchange Act.
11
   As a direct and proximate result of defendants’ conduct, Wesco’s stockholders will
12
13 be irreparably harmed.
14                               PRAYER FOR RELIEF
15
           WHEREFORE, Plaintiff demands judgment and preliminary and permanent
16
17 relief, including injunctive relief, in his favor on behalf of Wesco, and against
18 defendants, as follows:
19
          A.    Ordering that this action may be maintained as a class action and
20
21 certifying Plaintiff as the Class representative and Plaintiff’s counsel as Class
22 counsel;
23
         B.      Preliminarily and permanently enjoining defendants and all persons
24
25 acting in concert with them from proceeding with, consummating, or closing the
26 Proposed Transaction;
27
28
                                  28
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 1            C.    In the event defendants consummate the Proposed Transaction,

 2 rescinding it and setting it aside or awarding rescissory damages to Plaintiff and the
 3
     Class;
 4
 5            D.    Awarding Plaintiff the costs of this action, including reasonable

 6 allowance for Plaintiff’s attorneys’ and experts’ fees; and
 7
              E.    Granting such other and further relief as this Court may deem just and
 8
 9 proper.
10                                       JURY DEMAND
11
              Plaintiff demands a trial by jury on all claims and issues so triable.
12
13
14   Dated: September 24, 2019                      WEISSLAW LLP
15
16                                            By:
17                                                  Joel E. Elkins
                                                    9107 Wilshire Blvd., Suite 450
18                                                  Beverly Hills, CA 90210
19                                                  Telephone: 310/208-2800
                                                    Facsimile: 310/209-2348
20                                                          -and-
21                                                  Richard A. Acocelli
                                                    1500 Broadway, 16th Floor
22                                                  New York, NY 10036
23                                                  Telephone: 212/682-3025
                                                    Facsimile: 212/682-3010
24
25                                                  Attorneys for Plaintiff and the
                                                    Proposed Class
26
27
28
                                  29
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